      STATE OF NORTH CAROLINA
                        GUILFORD
                                                                                                            •F;/•7y w~ S;-<. i
                                                                                                                       In The General Court Of Justice
                                                       County                                                   O District 129 Superior Court Division
    Name Of Plaintiff
    THERESA SCHMITZ
    Address
                                                                                                                   CIVIL SUMMONS
    c/o JONATHAN WALL, ESQ.; 301 North Elm Street, Suite 800
    City, State, Zip
                                                                                                0   ALIAS AND PLURIES SUMMONS (ASSESS FEE)
    Greensboro                                                 NC          27401
'                                      VERSUS                                       .                                                        G.S.1A-1, Rules 3 and 4
    Name OfDefendant(s)                                                                 Date Original Summons Issued
    ALAMANCE-BURLINGTON BOARD OF EDUCATION
                                                                                        Oate(s) Subsequent Summons(es) Issued

    d/b/a ALAMANCE-BURLINGTON SCHOOL SYSTEM

    To Each Of The Defendant(s) Named Below:
Name And Address Of Defendant 1                                                         Name And Address Of Defendant 2
    ALAMANCE-BURLINGTON BOARD OF EDUCATION                                              ALAMANCE-BURLINGTON BOARD OF EDUCATION
    c/o Ms. Allison Gant, Chair                                                         c/o Dr. W. Bruce Benson, Superintendent
    1712 Vaughn Road                                                                    1712 Vaughn Road
    Burlington                    NC     27217                                          Burlington                              NC 27217

    A Civil Action Has Been Commenced Against You!
    You are notified to appear and answer the complaint of the plaintiff as follows:
    1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
         served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and
    2. File the original of the written answer with the Clerk of Superior Court of the county named above.
    If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address (?f Plaintiffs Attorney (if none, Address Of ptaintiff)

MR. JONATHAN WALL                                                                       Dai'o7r-lt9                       ITTm& ; /
                                                                                                                                   :3r • A M ~
                                                                                        ~ ->-
HIGGINS BENJAMIN, PLLC
301 N. Elm Street, Suite 800
Greensboro                                                    NC           27401            ~tyCSC             0   Assistant CSC      0   Cieri< Of Superior Court




                                                                                        Date Of Endorsement
    0   ENDORSEMENT (ASSESS FEE)
        This Summons was originally issued on the date indicated                        Signature
        above and returned not served. At the request of the plaintiff,
        the time within which this Summons must be served is
        extended sixty (60) days.                                                           •   DeputyCSC      0   Assistant CSC      0   Clerk Of Superior Court




    NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $25,000 or
                            fess are heard by an arbitrator before a triaf. The parties w!H be notified if this case is assigned for mandatory arbitration, and, 1f
                            so, what procedure is to be followed.




                                                                                   (Over)
    AOC-CV-100, Rev. 6/16
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                                                                            RETURN OF SERVICE
     I certify that this Summons and a copy of the complaint were received and served as follows:

                                                                                  DEFENDANT 1
    Date Served                              Time Served                                      Name Of Defendant
                                                                        QAM       QPM


     0    By delivering to the defendant named above a copy of the summons and complaint.
     D    By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
          person of suitable age and discretion then residing therein.
    D     As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
          below.   ·
           Name And Address Of Person IM"th Whom Copies Left (if corporation, give title of person copies fett with)




    D    Other manner of service (specify)




    D    Defendant WAS NOT served for the following reason:




                                                                                 DEFENDANT2
 Date Served                                Time Served                                      Name Of Defendant
                                                                       QAM       QPM


    D    By delivering to the defendant named above a copy of the summons and complaint._
    0    By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
         person of suitable age and discretion then residing therein.
    0    As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
         below.
          Name And Address Of Person lMth Whom Copies Left (if corporation, give title of person copies left with)




 0       Other manner of service (specify)




 D      Defendant WAS NOT served for the following reason:




Service Fee Paid                                                                            Signature Of Deputy Sheriff Making Return
$
Date Received                                                                               Name Of Sheriff (type or print)


Date Of Retum                                                                               County Of Sheriff



    AOC-CV-100, Side Two, Rev. 6/16
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 NORTH CAROLINA                                            . Gl!i'{~L COURT OF WSTICE
                                                             SUI'£ru.OR 9QUR~- DIYJ~ION
 GUILFORD COUNTY                                             FILE NO. f Y vV (, ¥ U 1
                                                  Z:13 DCI -S P     l,:   35
 THERESA SCHMITZ,                             )
                                              )
                       Plaintiff              )
                                              )
        V.                                    )                  COMPLAINT
                                              )
ALAMANCE-BURLINGTON BOARD                     )
OF EDUCATION d/b/a ALAMANCE-                  )
BURLINGTON SCHOOL SYSTEM,                     )
                                              )
                       Defendants             )

                                   PRELIMINARY STATEMENT

        I.     This is a civil rights action for the denial of equal employment opportunity

through wrongful discharge, discrimination, and retaliation in violation of (a) the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq., as amended; and (b) the public policy of the state of

North Carolina as evidenced by N.C.G.S. § 143-422.1 et seq., and other bases.

                                   JURISDICTION AND VENUE

       2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1343 and 1367; 42

U.S.C. § 121 l 7(a). The unlawful employment practices and discrimination alleged below were

committed within the Middle District of North Carolina.

                                            PARTIES

       3.     Plaintiff Theresa Schmitz is a citizen and resident of Wake County, North

Carolina.

       4.     Upon information and belief, Defendant Alamance Burlington Board of

Education d/b/a Alamance Burlington School System (herein "Defendant ABSS") is a body




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 corporate having general control and supervision of all matters pertaining to the public schools

 within the Alamance-Burlington School System and operating as the Alamance-Burlington

 School System, operating all public schools within the City of Burlington and Alamance County,

 North Carolina.

                                    FACTUAL ALLEGATIONS

       · 5.     Upon informatiori and belief, Defendant ABSS employees over 500 persons and

 is a covered entity under the Americans with Disabilities Act (ADA), 42 U.S.C. § 12101 et seq.,

 as amended.

        6.      On or about October 26-27, 2016, Defendant ABSS hired Plaintiff Theresa

 Schmitz to work as a fourth-grade teacher at the Sylvan Elementary School located in Snow

Camp, North Carolina.

        7.      Plaintiff performed satisfactorily through the first months of her employment and

received positive feedback on her performance.

        8.      In November 2016, Plaintiffs minor son was diagnosed with a brain tumor and

required emergency brain surgery on November 23, 2016. He was released from the hospital on

November 28,206, and Plaintiff returned to work on November 29, 2016.

        9.      Plaintiffs son was further diagnosed with NFl (neurofibromatosis Type 1), also

known as von Recklinghausen' s Disease, is a rare genetic disorder causing benign growths in

various parts of the body, including the brain and optic nerves. In addition to the brain tumor,

Plaintiffs son developed optic gliomas on his optic nerves, and he suffered speech delays and

continuing language challenges, processing skills deficits, and learning challeng,:s as a result of

the disease. He has been diagnosed with developmental disability due to NF!. His condition

affects several major life functions including but not limited to seeing, thinking, and learning,


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and after his surgery he was unable to walk or care for himself, and he has required regular MRis

and chemotherapy as a result of the disease.

        10.    Plaintiffs minor son suffers from a disability and has a record of a disability.
                                                                                                  '
        11.    From November 29 to December 5, 2016, Plaintiff requested and was approved to

leave school at 2:30pm, so she could care for her son at home while her spouse reported for

work. Classes ended at 2:30pm, but"the official end of the teacher school day was 3:15pm. Her

principal, Mark Gould granted permission for her to leave work early that work.

        12.    On or about December 5, 2016, Plaintiff took her son his doctor to have stitches

in his head from the surgery removed. At that time, the physician told Plaintiff that her son

would be incapacitated for some time and could not return to school for several weeks.

       13.     Plaintiff emailed Principal Gould and explained the situation and requested to

leave early at 2:30pm for one more week. When she received no response, she called and left a

message on Principal Gould's cell-phone voice mail. Principal Gould eventually responded

electronically and explained that he could not talk because he was at a child's basketball game,

but that they would discuss it tomorrow.

       14.       The next day, Plaintiff did not hear from Principal Gould, and at 2:30pm she left

to care for her son, believing it was okay. She later received an email from Prindpal Gould

inquiring where she had been, and stating that he had not seen her at bus duty at 2:30pm that

afternoon. Plaintiff replied that she had explained her situation with her son and thought it was

okay to leave at 2:30pm. When she received no response back, she became very concerned. She

contacted Principal Gould and told him that she would not be at school the following day.

       15.     The next day Plaintiff contacted Defendant's human resources ("HR")

department, and explained her situation with her son and the need to care for him. She told them


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she though Principal Gould was bullying her and retaliating against her for caring for her

disabled son who had been diagnosed with a genetic condition.

         16.    Defendant HR department contacted Plaintiff later that day and informed her that

she was not permitted to leave at 2:30pm. They told her that instead, she had to take her leave in

half-days, and she would only be paid for the half-days she worked. Plaintiff asked why she

could not leave at 2:30pm and have per pay docked accordingly, arid they did not offer any

explanation. Plaintiff therefore worked only half days until the holiday break through December

16, 2016. After the holiday break, Plaintiff did not take - nor request - any more half days to

care for her disabled son.

         17.    Despite Plaintiffs return to her regular work schedule in mid-December 2016,

throughout January and February 2017, Principal Gould began a course of retaliation against

Plaintiff.

        18.     Principal Gould began nitpicking Plaintiff and holding her to a much higher

standard than the other teachers at the school. She was scolded for viewing a work-related email

(although Principal Gould made it sound like it was personal email), using the restroom, and

sending children to the principal's office for behavior concerns (which is the correct protocol).

        19. ·   Plaintiff again complained to HR and explicitly stated she felt she was being

bullied and retaliated against because of her association with her disabled child.

        20.     Again in retaliation, Principal Gould placed Plaintiff on a Performance

Improvement Plan (PIP) on or about March 14, 2017. The PIP misstated facts and held Plaintiff

to a much higher standard than other teachers.

        21.     Plaintiff successfully completed the PIP, which entailed much busy-work, and she

attended to all the concerns raised in the PIP and subsequent correspondence.


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          22.     In April 2017, Plaintiff was performing satisfactorily. Principal Gould later wrote

  that during the year, Plaintiff:

          .... has very capably taught math, reading, social studies, and science.

         Ms. Schmitz is to be commended for her professionalism, concern for her
         students, and quality of instruction. She plans well and works diligently at being
         organized. Her preparation each day is thorough and the results, evident. Her
         assignments and assessments are well-conceived, quickly corrected, and promptly
         returned. I have found Ms. Schmitz to be uniquely resourceful and adaptive.

         Student respect is obvious in her classroom. She deeply cares about her students
         and they look to her for approval and guidance. Her approach to teaching has
         generated a warm and close rapport with her classes as well as our faculty.

         Ms. Schmitz has the skills to be an outstanding teacher. ..


         23.     Nevertheless, on or about May 12, 2017, Plaintiff was called into a meeting with

 HR and Principal Gould and handed a pre-drafted "letter ofresignation" for her to sign, effective

at the end of the school year. Plaintiff was told that if she did not sign and turn in the resignation

letter, she would be "put on a list she did not want to be on," presumably a list of terminated

employees or employees who were not eligible for hire within the State's public school systems,

thereby jeopardizing her entire career choice.

        24.     By presenting Plaintiff with the forced resignation letter, Defendant constructively

terminated Plaintiffs employment.

        25.     Because of the pre-termination retaliation and the wrongful termination, and the

financial difficulties it caused, Plaintiff suffered substantial lost income, benefits, shock, mental

anguish, and frustration.




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           26.      Plaintiff filed a timely charge with the Employment Opportunity Commission

 alleging ADA violations and retaliation, and she received a "Right-to-Sue" letter on July 14,

 2018, or later.

           COUNT I -ASSOCIATIONAL DISCRIMINATION IN VIOLATION OF ADA

           27.      Plaintiff restates and incorporates by reference in full the allegations contained in

 paragraphs 1-26.

      r    28.     Defendant is an employer subject to the Americans with Disabilities Act (ADA),

 42 U.S.C. § 12101 et seq.

          29.      Plaintiffs son suffers from a disability that affects a major life function, and he

has a history of disability.

          30.      Plaintiff suffered adverse employment actions - changes to her schedule and

responsibilities, being placed on a PIP, and being forced to resign, among others - because of her

specific association with her disabled son. Plaintiff was treated differently than similarly situated

employees in that other employees not associated with a disabled family member were regularly

permitted to take sick leave in less-than-half-day increments on temporary bases, and they were

not retaliated against for talking leave or because of anticipated future leave requirements.

          31.      Plaintiff is entitled to reinstatement to her job, back pay, interest on back pay,

front pay, and other benefits of employment, including but not limited to vacation pay, sick pay,

health insurance benefits, and savings plan/retirement benefits. Plaintiff also suffered substantial

mental anguish. Plaintiffs losses are in an amount greater than $25,000.00.

                      COUNT II - RETLIA TION IN VIOLATION OF THE ADA

          32.    Plaintiff restates and incorporates by reference in full the allegations contained in

paragraphs 1-31.


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        33.     Plaintiff reasonably believed that the ADA protected her both from (a) requesting

 reasonable accommodations to care for her disabled son (b) complaining that her supervisor was

retaliating against her for making requests for accommodations to care for her disabled son.

        34.    Plaintiff engaged in conduct protected by the ADA.

        35.    Plaintiff suffered adverse employment actions after she engaged m conduct

protected by the ADA, inciuding termination of empioyment.

        36.     Plaintiff suffered the adverse employment actions because of her protected

conduct, as evidenced, in part, by the temporal proximity of the events, the negative citation of

her leave to care for her disabled son, the Principal's negative animus displayed to her disability-

related requests, the request for her to resign when she was performing satisfactorily.

        37.     Plaintiff suffered substantial injury on account of Defendant's retaliation, and she

is entitled to reinstatement to her job, back pay, interest on back pay, front pay, and other

benefits of employment, including but not limited to vacation pay, sick pay, health insurance

benefits, and savings plan/retirement benefits. Plaintiff also suffered substantial mental anguish.

Plaintiffs losses are in an amount greater than $25,000.00.

     COUNT III - WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

       38.     Plaintiff restates and incorporates by reference in full the allegations contained in

paragraphs 1-37.

       39.     The public policy of North Carolina, as expressed in N.C G.S. § 143-422.2, is "to

protect and safeguard the right and opportunity of all persons to seek, obtain and hold

employment without discrimination or abridgement on account of race ... [and] ... handicap by

employers which regularly employ I 5 or more employees," as well as the North Carolina

Persons with Disabilities Protection Act (NCPDPA), N.C.G.S. § !68A-l et seq., which prohibits


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  discrimination in employment on the basis of handicap. Plaintiffs termination also violated the

 established public policy of North Carolina as expressed in other statutes and regulations,

 including but not limited to N.C.G.S. §§ 95-28.IA, 115C-302.l, 16 N.C. A.C. § 06C.0402, and

 Policy 5000 of the Alamance-Burlington School System Policy Manual.

         40.    Plaintiff was retaliated against and wrongfully discharged from her employment

 because of the genetic information about her son and his ·disability, and for exercising her rights

 to take leave protected under state law, in violation of North Carolina's public policy.

         41.    As a result of Defendant's actions, as described herein, Plaintiff has suffered

 damages in excess of$25,000.00.

         42.    Defendants actions as herein described were malicious and in willful and wanton

disregard of Plaintiffs rights.

         WHEREFORE, Plaintiff hereby requests the following relief:

        (I)    That Plaintiff recover compensatory damages in excess of$25,000.00;

        (2)    That Plaintiff be reinstated to her position of employment once reasonable

measures have been undertaken to protect Plaintiff from retaliatory actions;

        (3)    That Plaintiff recover punitive damages in an amount to be determined by the

jury;

        (4)    That Plaintiff recover pre- and post judgment interest on amounts awarded;

        (5)    That Plaintiff recover attorney fees as provided by federal and state law including

a reasonable attorney's fee pursuant to 42 U.S.C. § 1988;

        (6)    That Plaintiff recover the costs of this action; and

        (7)    That Plaintiff recover any other relief that this Court deems just and proper.




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       Plaintiff hereby demands a trial by jury on all issues presented herein.


                 r-C:.
      This, the _7_ day of October, 2018.

OF COUNSEL:
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